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lN THE UNITED STATES DISTch COURT F"'ED BY ~ D'°'
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 AUG 214 PH 2= 107
WSM. GUULD
CLEHK U.S ‘_"`WtCT CULBT
UNITED sTATEs oF AMERICA W,'D .V_‘?* »; ti

 

Plaintiff,
VS CR. NO. 05-20155-Ml
TIMOTHY MOORE

Defendant(s)

`_,`,»~../\._/~._r~..,»~_'~_,»~_._.¢-._r-._¢\_/

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set for a Report Date on Friday, August 26, 2005 at
9:00 a.m. Counsel for the defendant requested a continuance of the
present setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for a Report
Date to wednesday, November 23, 2005 at 9:00 a.m. with a trial date of
Monday, December 5, 2005.

The period from September 16, 2005 through December 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel
additional time to prepare.

I'r Is so 0RDERED this the g day of August, 2005.

c) mut

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

Tt;is document entered on the docket sheet in compliance
with sule 55 andfor 32(b) FHCrP on ~ S

   

UNITED sTATE DISTRIC COUR - WESTERN D'S'TRCT oFTENNESSEE

thice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CR-20155 Was distributed by faX, mail, cr direct printing on
August 24, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

